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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
RICHMOND DIVISION

PROCEEDINGS BEFORE MAGISTRATE sues hill pate: |2-a|- -|
CASE NO. 31 \\l JR 2Y E INTERPRETER —_

Tape NO. FIR. , |
vev. DSVIO Whitdke ie

 

 

 

 

 

Counsel for Government Er t iK SI > ie =» Det st
Counsel for Defendant(s) NVA O
WITNESSES: '

 

 

PROCEEDINGS: INITIAL mance DETENTION
HEARING
Govi’s motion to unsea} indictment, granted
ARREST DATE __|2"R/- |]
Court summarized charges
Court advises of deft's Rule 5 rights
Financial Affidavit submitted for approval
v CJA counsel to be appointed
Deft. to retain counsel
Govt's motion to detain deft. granted denied
Deft requests continuance to prepare for detention hearing
Govt. requests continuance to prepare for detention hearing ;
—%. Detention hearing set for __\) EC. 4 sok 20] 2. lO! O°
Order of Temporary Detention pending hearing
Govt, adduced evidence, rested
Deft. adduced evidence, rested
Arguments heard
Findings stated from the bench

 

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Order of Detention Pending Trial
Court: Orders bond set at __

Residence/travel restricted to EDVA

Pretrial Supervision

No drugs, firearms, alcohol

Maintain/seck employment

Avoid contact with potential witnesses, victims, ete.
substance abuse testing and treatment; pay costs
Electronic monitoring; pay costs

3°¢ party custodian

Maintain contact with attorney

Surrender passport obtain no passport
If deft pleads guilty or found guilty report to PO
May report to AUSA as long as attorney is present
Remain inside and may only leave with approval of Pretrial
Additional conditions:

 

 

 

 

 

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Case set: ||‘ Case called: | | 1 14 Case ended: | | i t Total: ue
